 Case 3:24-cv-00986-E Document 24 Filed 05/01/24    Page 1 of 40 PageID 705



               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS

RYAN, LLC,
                      Plaintiff,
          v.                                 Civil Action No. 3:24-cv-986-E
FEDERAL TRADE COMMISSION,
                      Defendant.

                RYAN, LLC’S BRIEF IN SUPPORT OF
           MOTION FOR STAY OF EFFECTIVE DATE AND
                 PRELIMINARY INJUNCTION
                   EXPEDITED TREATMENT REQUESTED
Allyson N. Ho                          Eugene Scalia (pro hac vice)
Texas Bar No. 24033667                 Amir C. Tayrani (pro hac vice)
Elizabeth A. Kiernan                   Andrew G. I. Kilberg (pro hac vice)
Texas Bar No. 24105666                 Aaron Hauptman (pro hac vice)
GIBSON, DUNN & CRUTCHER LLP            Joshua R. Zuckerman (pro hac vice)
2001 Ross Avenue, Suite 2100           GIBSON, DUNN & CRUTCHER LLP
Dallas, TX 75201                       1050 Connecticut Avenue, N.W.
Telephone: 214.698.3100                Washington, DC 20036
Facsimile: 214.571.2900                Telephone: 202.955.8500
aho@gibsondunn.com                     Facsimile: 202.467.0539
ekiernan@gibsondunn.com                escalia@gibsondunn.com
                                       atayrani@gibsondunn.com
Charles W. Fillmore                    akilberg@gibsondunn.com
Texas Bar No. 00785861                 ahauptman@gibsondunn.com
H. Dustin Fillmore III                 jzuckerman@gibsondunn.com
Texas Bar No. 06996010
THE FILLMORE LAW FIRM LLP
201 Main Street, Suite 700
Fort Worth, TX 76102
Telephone: 817.332.2351
chad@fillmorefirm.com
dusty@fillmorefirm.com

                          Attorneys for Ryan, LLC
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                   Page 2 of 40 PageID 706


                                           TABLE OF CONTENTS

                                                                                                                    Page(s)

REQUEST FOR EXPEDITION ................................................................................1

INTRODUCTION AND SUMMARY OF ARGUMENT .........................................1

BACKGROUND .......................................................................................................4

   I.        The Federal Trade Commission Act.............................................................4

   II.       Non-Compete Agreements ...........................................................................7

   III.      The Non-Compete Rule ...............................................................................9

   IV.       Ryan, LLC ..................................................................................................11

STATEMENT OF NATURE AND STAGE OF PROCEEDING ............................12

STATEMENT OF ISSUES AND STANDARD OF REVIEW ...............................12

ARGUMENT ...........................................................................................................12

   I.        Ryan Is Likely To Succeed On The Merits. ...............................................13

        A.      The Commission Lacks Statutory Authority To Issue The Non-Compete
                Rule. ........................................................................................................13

        B.      A Grant Of Rulemaking Authority To Define Unfair Methods Of
                Competition Would Violate The Constitution. .......................................21

        C.      The Commission Is Unconstitutionally Insulated From The President. 24

   II.       Ryan Will Suffer Irreparable Harm Without A Stay Or Preliminary
             Injunction. ..................................................................................................25

   III.      The Balance Of Equities And Public Interest Favor Preliminary Relief. ..27

CONCLUSION ........................................................................................................28



                                                               i
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                            Page 3 of 40 PageID 707


                                     TABLE OF AUTHORITIES

                                                                                                          Page(s)

                                                      Cases

A.L.A. Schechter Poultry Corp. v. United States,
   295 U.S. 495 (1935) ................................................................................21, 22, 23
Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs.,
   141 S. Ct. 2485 (2021) ........................................................................................18

AMG Cap. Mgmt., LLC v. FTC,
  593 U.S. 67 (2021) ..............................................................................................15

Armendariz-Mata v. DEA,
  82 F.3d 679 (5th Cir. 1996) ................................................................................27
Biden v. Nebraska,
   143 S. Ct. 2355 (2023) ........................................................................................17

BST Holdings, LLC v. OSHA,
  17 F.4th 604 (5th Cir. 2021) ...............................................................................27
Chevron U.S.A. Inc. v. Echazabal,
  536 U.S. 73 (2002) ..............................................................................................16
Consumers’ Research v. CPSC,
  91 F.4th 342 (5th Cir. 2024) ...............................................................................25

Dayton Bd. of Educ. v. Brinkman,
  439 U.S. 1358 (1978) ..........................................................................................27
Eichorn v. AT&T Corp.,
   248 F.3d 131 (3d Cir. 2001) ................................................................................. 8
FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ............................................................................................23

FTC v. Sperry & Hutchinson Co.,
  405 U.S. 233 (1972) ............................................................................................22




                                                              ii
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                            Page 4 of 40 PageID 708


                                                                                                          Page(s)

Gundy v. United States,
  139 S. Ct. 2116 (2019) .......................................................................................21

Humphrey’s Executor v. United States,
  295 U.S. 602 (1935) ........................................................................................4, 24
Illumina, Inc. v. FTC,
    88 F.4th 1036 (5th Cir. 2023) .............................................................................25

J.M. Fields of Anderson, Inc. v. Kroger Co.,
   310 F.2d 562 (5th Cir. 1962) ..............................................................................26

McDonald v. Longley,
  4 F.4th 229 (5th Cir. 2021) .................................................................................12
Mistretta v. United States,
  488 U.S. 361 (1989) ............................................................................................21
Mitchel v. Reynolds,
   24 Eng. Rep. 347 (Q.B. 1711) .............................................................................. 7

Nat’l Petroleum Refiners Ass’n v. FTC,
  482 F.2d 672 (D.C. Cir. 1973) ..................................................................6, 15, 19
New State Ice Co. v. Liebmann,
  285 U.S. 262 (1932) ............................................................................................19
Nken v. Holder,
  556 U.S. 418 (2009) ............................................................................................27
Providence Title Co. v. Fleming,
   2023 WL 316138 (5th Cir. Jan. 19, 2023) ..........................................................26
Reiter v. Sonotone Corp.,
   442 U.S. 330 (1979) ............................................................................................15

Rest. Law Ctr. v. DOL,
   66 F.4th 593 (5th Cir. 2023) ...............................................................................27
Seila Law LLC v. CFPB,
   140 S. Ct. 2183 (2020) ........................................................................................24


                                                         iii
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                Page 5 of 40 PageID 709


                                                                                                               Page(s)

Snap-On Tools Corp. v. FTC,
   321 F.2d 825 (7th Cir. 1963) ..........................................................................9, 18

Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs,
   531 U.S. 159 (2001) ............................................................................................19
Texas v. Becerra,
   577 F. Supp. 3d 527 (N.D. Tex. 2021) ...............................................................27

Texas v. Biden,
   10 F.4th 538 (5th Cir. 2021) ...............................................................................27

Texas v. EPA,
   829 F.3d 405 (5th Cir. 2016). .............................................................................27
UARG v. EPA,
  573 U.S. 302 (2014) ............................................................................................18
Wavetronix LLC v. Iteris, Inc.,
  2015 WL 300726 (W.D. Tex. Jan. 22, 2015) .....................................................26

West Virginia v. EPA,
  142 S. Ct. 2587 (2022) ..................................................................................17, 18
Whitman v. Am. Trucking Ass’ns,
  531 U.S. 457 (2001) ............................................................................................14
                                         Constitutional Provisions

U.S. Const. art. I, § 1................................................................................................21

                                                       Statutes
5 U.S.C. § 551(4) .....................................................................................................23

5 U.S.C. § 706 ..........................................................................................................12
15 U.S.C. § 41 ......................................................................................................4, 24

15 U.S.C. § 45 ......................................................................................................5, 14

15 U.S.C. § 45(a)(2) ...................................................................................................5


                                                            iv
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                Page 6 of 40 PageID 710


                                                                                                               Page(s)

15 U.S.C. § 45(b) .......................................................................................................5
15 U.S.C. §45(l) .........................................................................................................5

15 U.S.C. § 45(l)-(m) ...............................................................................................15
15 U.S.C. § 45(m) ....................................................................................................24

15 U.S.C. § 45a ....................................................................................................7, 17
15 U.S.C. § 46 ..........................................................................................................14

15 U.S.C. § 46(a)-(d) .................................................................................................5
15 U.S.C. § 46(e) .......................................................................................................5

15 U.S.C. § 46(f) ........................................................................................................5
15 U.S.C. § 46(g) .................................................................................................6, 13
15 U.S.C. § 46(h)-(j) ..................................................................................................5
15 U.S.C. § 46(k) .......................................................................................................5

15 U.S.C. § 53(b) .....................................................................................................24

15 U.S.C. § 57a(a)(1)(B)......................................................................................6, 16

15 U.S.C. § 57a(a)(2) ...............................................................................................16

15 U.S.C § 57a(b)-(d) ................................................................................................7
15 U.S.C. § 57b(a) ...................................................................................................24

15 U.S.C. § 1194(c) .............................................................................................7, 17
15 U.S.C. § 2302 ......................................................................................................16

15 U.S.C. § 2302(b) ...................................................................................................7

15 U.S.C. § 2302(d) ...................................................................................................7
15 U.S.C. § 2310(a) .............................................................................................7, 16


                                                            v
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                   Page 7 of 40 PageID 711


                                                                                                                   Page(s)

15 U.S.C. § 2310(b) .............................................................................................7, 16
28 U.S.C. § 2201 ......................................................................................................12

28 U.S.C. § 2202 ......................................................................................................12
Federal Trade Commission Act Amendments of 1938, Pub. L. No. 75-
   447, 52 Stat. 111 ...................................................................................................5

FTC Act, ch. 311, 38 Stat. 717 (1914) .......................................................4, 6, 14, 15

Ga. Code Ann. §§ 13-8-50-54..................................................................................19

Magnuson-Moss Warranty-Federal Trade Commission Improvement
  Act, Pub. L. No. 93-637, 88 Stat. 2183 (1975)...............................................6, 16
Minn. Stat. § 181.988 (2023) ...................................................................................19

                                              Regulatory Materials
16 C.F.R. § 910.1 .......................................................................................................9
16 C.F.R. § 910.1(f) ...................................................................................................9

16 C.F.R. § 910.2(a)(1) ..............................................................................................9
16 C.F.R. § 910.2(a)(2)(ii) .........................................................................................9
16 C.F.R. § 910.2(b) ................................................................................................10

16 C.F.R. § 910.3(a).................................................................................................10
16 C.F.R. § 910.3(b) ................................................................................................10

16 C.F.R. § 910.4 .......................................................................................................9

16 C.F.R. § 910.6 .....................................................................................................10
Federal Trade Commission, Deceptive Advertising and Labeling of
   Previously Used Lubricating Oil, 29 Fed. Reg. 11,650 (Aug. 14,
   1964) .....................................................................................................................6



                                                             vi
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                 Page 8 of 40 PageID 712


                                                                                                                 Page(s)

Federal Trade Commission, Non-Compete Clause Rule (rel. Apr. 23,
   2024), available at https://tinyurl.com/2s4kcf84 ............ 6, 10, 17, 19, 20, 21, 23

Federal Trade Commission, Proposed Non-Compete Clause Rule, 88
   Fed. Reg. 3,482 (Jan. 19, 2023) ..........................................................................18
                                                Other Authorities

Harlan M. Blake, Employee Agreements Not to Compete, 73 Harv. L.
  Rev. 625 (1960) ....................................................................................................7

Crowell & Moring LLP, Client Alert, https://tinyurl.com/yf689cac
   (Apr. 24, 2024)....................................................................................................26
Epstein Becker & Green, P.C., 50-State Noncompete Survey (2023),
  https://tinyurl.com/52r2tu65 .................................................................................7

Annual Report of the Federal Trade Commission (1922) .......................................15
Oral Statement of Commissioner Andrew N. Ferguson,
   https://tinyurl.com/2far6mmb .........................................................................3, 17
Goodwin Procter LLP, Alert, https://tinyurl.com/2b7y7f57 (Apr. 25,
  2024) ...................................................................................................................26
Umit G. Gurun et al., Unlocking Clients: The Importance of
  Relationships in the Financial Advisory Industry, 141 J. Fin. Econ.
  1218 (2021) ...........................................................................................................8

Oral Statement of Commissioner Melissa Holyoak,
   https://tinyurl.com/44rw98n6 ............................................................................... 3

Int’l Franchise Ass’n, International Franchise Association Statement
    on Final FTC Noncompete Rule (Apr. 25, 2024),
    https://tinyurl.com/2mzn68b2 .............................................................................11

Maysoon Khan, New York governor vetoes bill that would ban
  noncompete agreements, Associated Press (Dec. 23, 2023),
  https://tinyurl.com/yne98v45 ..............................................................................19

Brian M. Malsberger, Covenants Not to Compete (13th ed. 2021) ........................... 7


                                                            vii
   Case 3:24-cv-00986-E Document 24 Filed 05/01/24                                 Page 9 of 40 PageID 713


                                                                                                                 Page(s)

John M. McAdams, FTC, Non-Compete Agreements: A Review of
   the Literature (2019) .............................................................................................8

Alan J. Meese, Don’t Abolish Employee Noncompete Agreements, 57
   Wake Forest L. Rev. 631 (2022) .......................................................................... 8
Thomas W. Merrill & Kathryn Tongue Watts, Agency Rules with the
  Force of Law: The Original Convention, 116 Harv. L. Rev. 467
  (2002) ..................................................................................................................14
Richard J. Pierce Jr., Can the Federal Trade Commission Use
   Rulemaking to Change Antitrust Law?, GW Law Faculty
   Publications & Other Works 1561 (2021) ..........................................................20
Evan P. Starr et al., Noncompete Agreements in the U.S. Labor Force,
  64 J.L. & Econ. 53 (2021) ....................................................................................8




                                                           viii
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24                  Page 10 of 40 PageID 714



                              REQUEST FOR EXPEDITION

      As detailed in a concurrently filed motion to expedite, Plaintiff Ryan, LLC

(“Ryan”) respectfully requests that the Court shorten the briefing schedule on Ryan’s

Motion for Stay of Effective Date and Preliminary Injunction, hold a hearing within

21 days after briefing is completed, and decide the Motion by July 3, 2024.

Expedition is necessary to avoid irreparable injury to Ryan and countless other

businesses, which are already incurring significant costs to comply with a new

Federal Trade Commission regulation that will put their confidential business

information at serious risk of disclosure. Absent expedition, the rule will take effect

September 4, 2024, nullifying 30 million contracts and preempting the laws of

46 States.

               INTRODUCTION AND SUMMARY OF ARGUMENT

      The Federal Trade Commission by a 3-2 vote has adopted an economically

destabilizing, legally unprecedented rule outlawing the use of nearly all non-

compete agreements by every employer, in every industry, across the entire United

States (“Non-Compete Rule” or “Rule”).1 According to the Commission, it has the

authority to take this momentous step, because a provision of the Federal Trade

Commission Act (“FTC Act”) that authorizes procedural rules supposedly also




      1
          Attached as Exhibit A to Amended Complaint, ECF 22-1.


                                                 1
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 11 of 40 PageID 715



authorizes a sweeping substantive prohibition on “unfair methods of competition”—

and because, the Commission maintains, non-competes are nearly always “unfair.”

      If ever a federal agency attempted to pull an elephant out of a mousehole, this

is it. What’s more, the Rule rests on an open-ended statutory phrase—“unfair

methods of competition”—that provides no intelligible principle to guide the agency

or constrain its policy preferences, in violation of the Constitution’s restriction on

the delegation of legislative powers. Perhaps unsurprisingly, this brazen power grab

has been perpetrated by a politically unaccountable “independent” agency that is

unconstitutionally insulated from the President’s removal powers. This action

contravenes the FTC Act, violates the Constitution, and is arbitrary, capricious, and

otherwise unlawful under the Administrative Procedure Act (“APA”).

      For hundreds of years, employers and employees have had the freedom to

negotiate mutually beneficial non-compete agreements. Reasonably tailored non-

competes are permitted by the vast majority of States—including Texas, where Ryan

is headquartered—which apply state statutes and a rich body of state common law

to determine on a case-by-case basis when a non-compete is reasonable in duration,

geographic scope, and other respects. The Commission has nonetheless finalized a

one-size-fits-all rule outlawing nearly all non-compete agreements, declaring them

to be per se unfair methods of competition in violation of Section 5 of the FTC Act.




                                          2
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24               Page 12 of 40 PageID 716



       The Non-Compete Rule far exceeds the Commission’s statutory authority.

The Commission cannot promulgate substantive rules defining unfair methods of

competition.     And, even if Congress did grant the Commission authority to

promulgate some substantive unfair-competition rules, it did not invest the

Commission with authority to decide the major question of whether non-compete

agreements are categorically unfair and anticompetitive, a question with seismic

consequences affecting tens of millions of workers, millions of employers, and

billions of dollars in economic productivity.               Indeed, Congress could not

constitutionally have conferred this authority on the Commission with the open-

ended language to which the Commission points. As Commissioner Ferguson

summarized in his oral dissent, the Commission does not have “the power to nullify

tens of millions of existing contracts; to preempt the laws of forty-six States; to

declare categorically unlawful a species of contract that was lawful when the [FTC

Act] was adopted in 1914; and to declare those contracts unlawful across the whole

country irrespective of their terms, conditions, historical contexts, and competitive

effects.”2

       This immensely disruptive Rule should be stayed and barred from taking

effect during the pendency of this litigation. Non-competes have been actively


       2
           Oral Statement of Commissioner Andrew N. Ferguson at 2, https://tinyurl.com/2far6mmb
(“Ferguson Dissent”); accord Oral Statement          of    Commissioner      Melissa    Holyoak,
https://tinyurl.com/44rw98n6.


                                               3
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 13 of 40 PageID 717



authorized and supervised by the States for centuries—there is no need for them to

be invalidated nationwide with scarcely four months’ notice by the diktat of one

impatient federal agency. Allowing the Rule to go into effect only to later vacate it

would create the worst of all worlds, where workers are informed their non-competes

are unenforceable, only for that message to be later countermanded. In the meantime,

people would have moved jobs, the market goodwill and customer relationships that

were previously safeguarded by non-competes would have already been misused,

and confidential business information could have been disclosed to competitors.

      Ryan therefore seeks a stay of the Non-Compete Rule’s effective date and a

preliminary injunction against its enforcement.

                                 BACKGROUND

 I.   The Federal Trade Commission Act

      In 1914, Congress enacted the FTC Act, establishing the Commission as a

multimember “independent” agency. See FTC Act, ch. 311, 38 Stat. 717 (1914)

(codified as amended at 15 U.S.C. §§ 41 et seq.). The Commission is “composed of

five Commissioners … [n]ot more than three of” whom “shall be members of the

same political party.” 15 U.S.C. § 41. The President appoints the Commissioners,

with the advice and consent of the Senate.        But the President can remove a

Commissioner only “for inefficiency, neglect of duty, or malfeasance in office.” Id.;

see Humphrey’s Executor v. United States, 295 U.S. 602, 626 (1935).



                                         4
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 14 of 40 PageID 718



       Since the Commission’s inception, Section 5 of the FTC Act has “empowered

and directed” it “to prevent” the use of “unfair methods of competition.” 15 U.S.C.

§ 45(a)(2). In 1938, Congress amended Section 5 to give the Commission the

additional power and responsibility to prevent “unfair or deceptive acts or practices.”

Federal Trade Commission Act Amendments of 1938, Pub. L. No. 75-447, § 3, 52

Stat. 111, 111-12.

       Section 5 of the Act creates a comprehensive scheme for the Commission to

prevent unfair methods of competition through case-by-case adjudication. See 15

U.S.C. § 45. Congress empowered the Commission to hold a hearing and issue a

cease-and-desist order if the hearing reveals the respondent is engaging in an unfair

method of competition; the Act provides for penalties for violating such an order. Id.

§ 45(b), (l).

       Section 6 of the Act grants the Commission ancillary powers to support this

adjudicatory scheme. Most of those powers are investigatory. See 15 U.S.C.

§ 46(a)-(d), (h)-(j).   Others are ministerial, such as the powers to make

recommendations, see id. § 46(e), (k), and publish reports, see id. § 46(f). One

provision, Section 6(g), which has been in place since the Commission’s inception

in 1914, grants the Commission the power to “classify corporations and … to make

rules and regulations for the purpose of carrying out the provisions of this




                                          5
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 15 of 40 PageID 719



subchapter.” Id. § 46(g); see also 38 Stat. at 722. The Act does not authorize

penalties for violating rules promulgated under Section 6(g).

      From 1914 until 1962, the Commission did not invoke Section 6(g) as a grant

of substantive rulemaking authority, and in fact expressly disclaimed such authority.

See Nat’l Petroleum Refiners Ass’n v. FTC, 482 F.2d 672, 693 & n.27 (D.C. Cir.

1973) (recounting this history). Then, in the 1960s and 1970s, the Commission

promulgated several rules declaring certain actions to be unfair or deceptive acts or

practices, citing Section 6(g) as its authority. Rule at 25-28. Some of these rules

also declared the same actions to be unfair methods of competition. See, e.g., Rule

at 26 n.138 (citing Deceptive Advertising and Labeling of Previously Used

Lubricating Oil, 29 Fed. Reg. 11,650 (Aug. 14, 1964)). From 1978 until the Non-

Compete Rule, however, the Commission did not promulgate a single rule under

Section 6(g).

      That is likely because in 1975, in the wake of the controversial D.C. Circuit

decision the Commission relies upon in this case, Congress reinforced the fact that

Section 6(g) did not grant substantive rulemaking authority. In the Magnuson-Moss

Warranty-Federal Trade Commission Improvement Act, Pub. L. No. 93-637, 88 Stat.

2183 (1975), Congress empowered the Commission to promulgate “rules which

define with specificity acts or practices which are unfair or deceptive acts or

practices in or affecting commerce.” 15 U.S.C. § 57a(a)(1)(B). In doing so, it


                                         6
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 16 of 40 PageID 720



imposed tight constraints on the manner in which such rules could be adopted. Id.

§ 57a(b)-(d).   Congress also empowered the Commission to prescribe rules

regarding written warranties, id. §§ 2302(b), (d), 2310(a), and declared “fail[ure] to

comply with … a rule” promulgated under the Magnuson-Moss Act to be a violation

of Section 5, id. § 2310(b). Congress later gave the Commission other targeted

rulemaking powers. See, e.g., 15 U.S.C. §§ 45a (rules related to labelling), 1194(c)

(rules related to the flammability of fabrics). Conspicuously absent, however, was

conferral of authority to adopt rules regarding unfair methods of competition.

II.   Non-Compete Agreements

      For hundreds of years, firms and workers have freely negotiated mutually

beneficial agreements for a worker not to compete with an employer’s core business

during the employment relationship and for a time-limited period after it ends. The

standard governing these agreements was first articulated in Mitchel v. Reynolds, 24

Eng. Rep. 347 (Q.B. 1711), which held that “particular” restraints, limited to specific

regions, times, or customers, were enforceable just like any other contract. See

Harlan M. Blake, Employee Agreements Not to Compete, 73 Harv. L. Rev. 625, 629-

30 (1960). That general reasonableness test became the standard approach in “both

English and American courts,” id. at 638-39, leading to a rich body of state law and

application of the “rule of reason” under federal antitrust law, see generally Brian

M. Malsberger, Covenants Not to Compete (13th ed. 2021); Epstein Becker & Green,



                                          7
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 17 of 40 PageID 721



P.C., 50-State Noncompete Survey (2023), https://tinyurl.com/52r2tu65; Eichorn v.

AT&T Corp., 248 F.3d 131, 144 (3d Cir. 2001) (“[C]ourts have uniformly found that

covenants not to compete should be examined under the rule of reason.”). Until the

Commission issued its Non-Compete Rule, reasonably tailored non-compete

agreements were legal under federal antitrust law and the laws of 46 States

(including Texas).

      That is because workers, firms, and the economy all benefit from reasonable

non-compete agreements. See Amended Complaint, ECF 22 at ¶¶ 33-39. Non-

compete agreements promote training by solving a free-rider problem. See John M.

McAdams, FTC, Non-Compete Agreements: A Review of the Literature 13 (2019).

By so doing, they can increase workers’ earnings.        See Evan P. Starr et al.,

Noncompete Agreements in the U.S. Labor Force, 64 J.L. & Econ. 53, 80 (2021).

Non-compete agreements also incentivize R&D investment and facilitate innovation

by helping firms protect their intellectual property, in addition to other tools. See

McAdams, supra, at 19 (collecting papers). And in certain industries where client

relationships are critical—such as tax consulting—non-compete agreements can

reduce prices. See Umit G. Gurun et al., Unlocking Clients: The Importance of

Relationships in the Financial Advisory Industry, 141 J. Fin. Econ. 1218 (2021).

      Reasonably tailored non-compete agreements are thus a mutually beneficial,

negotiated term of employment. See Alan J. Meese, Don’t Abolish Employee


                                         8
  Case 3:24-cv-00986-E Document 24 Filed 05/01/24       Page 18 of 40 PageID 722



Noncompete Agreements, 57 Wake Forest L. Rev. 631, 677 (2022). That may be

why, until 2022, the Commission had only once claimed a non-compete agreement

was an unfair method of competition—and lost in court. See Snap-On Tools Corp.

v. FTC, 321 F.2d 825, 837 (7th Cir. 1963).

III.   The Non-Compete Rule

       On April 23, 2024, a bare majority of the Commission voted to promulgate

the Non-Compete Rule. The Non-Compete Rule declares that “it is an unfair method

of competition for a person: (i) To enter into or attempt to enter into a non-compete

clause; (ii) To enforce or attempt to enforce a non-compete clause; or (iii) To

represent that the worker is subject to a non-compete clause.”            16 C.F.R.

§ 910.2(a)(1). “Worker” is defined to include anyone “who works or who previously

worked, whether paid or unpaid,” for anyone else, regardless of employee or

independent contractor status. Id. § 910.1(f). The Rule also purports to supersede

state laws that would “permit or authorize” non-compete agreements. Id. § 910.4.

       The exceptions are extremely limited. Employers can enforce existing non-

competes—but cannot enter new ones—with “senior executives,” defined to include

CEOs, presidents, and other senior corporate officers who “control significant

aspects of a business entity or common enterprise.”           16 C.F.R. §§ 910.1,

910.2(a)(2)(ii). Non-competes remain legal when “entered into by a person pursuant

to a bona fide sale of a business entity, of the person’s ownership interest in a



                                         9
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24          Page 19 of 40 PageID 723



business entity, or of all or substantially all of a business entity’s operating assets.”

Id. § 910.3(a). And causes of action that “accrued prior to the [Rule’s] effective date”

may be pursued. Id. § 910.3(b). Otherwise, any non-compete agreement with any

worker earning any salary in any industry is outlawed, and businesses must send a

“clear and conspicuous notice” to any worker currently subject to a non-compete

informing him that his “non-compete clause will not be, and cannot legally be,

enforced against the worker.” Id. § 910.2(b).

      In short, the Commission has declared that more than 99% of non-competes

across the whole country, in all industries, in all circumstances—without any

individualized consideration—“are exploitative and coercive” and must be

eradicated. Rule at 79, 251. The FTC made no finding that non-competes are an

unfair method of competition in the tax-services industry specifically.

      By the Commission’s own estimates, the Rule massively reworks the

American economy. The Commission estimates—“conservative[ly]”—that the Rule

will invalidate the contracts of “approximately 30 million workers.” Rule at 7 &

n.34. And the Commission predicts the economic impact of the Rule will exceed

hundreds of billions of dollars. See, e.g., id. at 441.

      The Rule takes effect just 120 days after its publication in the Federal Register.

16 C.F.R. § 910.6.




                                           10
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 20 of 40 PageID 724



IV.   Ryan, LLC

      Ryan is a global tax-consulting firm headquartered in Dallas. It employs over

2,500 people in the United States and serves over 30,000 clients. Ryan’s principals

and other workers are sought-after tax experts who frequently join Ryan after years

of experience in the tax industry.

      Ryan’s principals and many of its other workers agree to temporally limited

non-compete clauses. Those covenants are one type of tool used to protect Ryan’s

confidential information, including Ryan’s playbooks for advising clients, which are

often developed through a collaborative process that can take years of research and

trial and error to perfect. Ryan’s non-competes are also a tool used to prevent

departing workers from poaching Ryan’s clients and workers.

      Once the Non-Compete Rule takes effect in scarcely four months, Ryan will

immediately be prohibited from enforcing the vast majority of its non-compete

agreements and will have to inform current and former workers that those

agreements no longer apply to them. That places Ryan’s business secrets at serious

risk of exposure, and may lead to poaching of Ryan’s clients and workers. Countless

professional-services firms, as well as businesses that own intellectual property, rely

on skilled labor, and have generated goodwill in the marketplace with existing and

potential customers, will face difficult choices in protecting these well-established,

legitimate business interests.       See, e.g., Int’l Franchise Ass’n, International



                                           11
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24           Page 21 of 40 PageID 725



Franchise Association Statement on Final FTC Noncompete Rule (Apr. 25, 2024),

https://tinyurl.com/2mzn68b2 (condemning “the harm [the Rule] will bring to

competition and intellectual property”).

         STATEMENT OF NATURE AND STAGE OF PROCEEDING

      Ryan filed its complaint on April 23, 2024, and an amended complaint on

May 1. ECF 1, 22. Ryan’s claims arise under the APA, 5 U.S.C. § 706, and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202. The Commission has not yet

responded to the amended complaint.

          STATEMENT OF ISSUES AND STANDARD OF REVIEW

      The issue presented is whether a stay of the Non-Compete Rule’s effective

date and a preliminary injunction prohibiting the Commission from enforcing the

Rule is warranted. Ryan is entitled to a preliminary injunction if “(1) [it is] likely to

succeed on the merits, (2) [it is] likely to suffer irreparable harm in the absence of

preliminary relief, (3) the balance of equities tips in [its] favor, and (4) an injunction

is in the public interest.” McDonald v. Longley, 4 F.4th 229, 255 (5th Cir. 2021)

(quotation marks omitted).

                                    ARGUMENT

      The Non-Compete Rule is a gross abuse of statutory and constitutional limits

on government power. It runs roughshod over the laws of nearly every State and, in

little more than four months from now, will massively and needlessly disrupt the


                                           12
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 22 of 40 PageID 726



business operations of Ryan and countless other U.S. employers. The Rule should

be stayed, and the Commission barred from enforcing it, unless and until the agency

can justify the Rule on the merits before this Court.

 I.   Ryan Is Likely To Succeed On The Merits.

      Ryan is likely to succeed because the Non-Compete Rule is patently unlawful.

The text, history, and structure of the FTC Act make clear that Section 6(g)—the

Commission’s claimed authority—does not grant the Commission the power to issue

rules defining unfair methods of competition. Were there any doubt, the major

questions doctrine would resolve it. If the Commission’s reading were correct,

moreover, Section 6(g) would be an unconstitutional delegation of legislative

authority because the FTC Act does not provide an intelligible principle guiding the

Commission’s exercise of rulemaking authority. On top of all that, the Rule is

invalid because the Commission is unconstitutionally structured.

      A. The Commission Lacks Statutory Authority To Issue The Non-
         Compete Rule.

      The Commission claims authority to adopt the Non-Compete Rule under

Section 6(g) of the FTC Act, which says the agency may “[f]rom time to time

classify corporations and … make rules and regulations for the purpose of carrying

out the provisions of this subchapter.” 15 U.S.C. § 46(g). This language does not

grant the substantive rulemaking authority the Commission claims.




                                         13
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 23 of 40 PageID 727



           1. The Text, Structure, And History Of The FTC Act Make Clear That
              Section 6(g) Does Not Authorize Substantive Rules.

        a. “Congress … does not alter the fundamental details of a regulatory scheme

in vague terms or ancillary provisions.” Whitman v. Am. Trucking Ass’ns, 531 U.S.

457, 468 (2001). But that is exactly what the Commission claims Congress did in

the FTC Act. Section 5 of the FTC Act creates a comprehensive scheme to prevent

unfair methods of competition through case-by-case adjudication. See 15 U.S.C.

§ 45.    Section 6, in turn, lays out ancillary powers that generally aid in the

administration of that adjudication-focused scheme.           See id. § 46.      The

Commission’s claimed rulemaking authority is the latter half of the seventh such

ancillary power, a subsection captioned “classifying corporations.” See FTC Act,

38 Stat. at 722. It is unfathomable that Congress, in one half of one subsection of a

provision addressing procedural matters, provided the Commission with the far-

reaching power to issue substantive rules categorically condemning economic

practices as unfair methods of competition on a nationwide basis.

        b. The lack of a statutory penalty for violating rules promulgated under

Section 6(g) further demonstrates that those rules cannot be substantive. In 1914,

when the provision was enacted, it was unheard of for Congress to grant broad

legislative rulemaking authority without also enacting a provision providing

penalties for violating those rules. See Thomas W. Merrill & Kathryn Tongue Watts,

Agency Rules with the Force of Law: The Original Convention, 116 Harv. L. Rev.

                                         14
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24       Page 24 of 40 PageID 728



467, 549-57 (2002). There is no penalty provision for Section 6(g) rules. By

contrast, there is now, and was then, a penalty provision for violating orders that

result from Section 5 adjudications. See 15 U.S.C. § 45(l)-(m); FTC Act, ch. 311

§ 5, 38 Stat. at 720.

      c.   The Commission’s own early understanding of its powers likewise

counsels against reading Section 6(g) to grant substantive rulemaking authority. For

the first forty-eight years of its existence, the Commission explicitly disclaimed

substantive rulemaking authority. See Nat’l Petroleum, 482 F.2d at 693 & n.27. For

example, in 1922 the Commission cautioned that “[o]ne of the most common

mistakes is to suppose that the commission can issue orders, rulings, or regulations

unconnected with any proceeding before it.” Annual Report of the Federal Trade

Commission 36 (1922). The Commission’s historical interpretation of its own

powers thus confirms that its present “reading would allow a small statutory tail to

wag a very large dog.” AMG Cap. Mgmt., LLC v. FTC, 593 U.S. 67, 77 (2021); see

id. at 72 (instructing courts to construe the FTC Act in light of “how the

Commission’s authority (and its interpretation of that authority) has evolved over

time”).

      d. Moreover, subsequent amendments to the FTC Act would be wholly

superfluous if Section 6(g) granted substantive rulemaking authority. See Reiter v.

Sonotone Corp., 442 U.S. 330, 339 (1979) (“In construing a statute we are obliged


                                        15
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24       Page 25 of 40 PageID 729



to give effect, if possible, to every word Congress used.”). In 1975, Congress

enacted the Magnuson-Moss Act, which among other things created a new

Section 18 of the FTC Act. Section 18 authorizes the Commission to promulgate

“rules which define with specificity acts or practices which are unfair or deceptive

acts or practices in or affecting commerce.” 15 U.S.C. § 57a(a)(1)(B). That would

make little sense if Section 6(g) already provided substantive rulemaking power.

And the Magnuson-Moss Act conspicuously did not grant the Commission the

authority to promulgate rules defining unfair methods of competition, instead merely

stating that it did “not affect any authority of the Commission to prescribe rules …

with respect to unfair methods of competition.” Id. § 57a(a)(2). The Magnuson-

Moss Act therefore “support[s] a sensible inference that the [rulemaking authority]

left out must have been meant to be excluded.” Chevron U.S.A. Inc. v. Echazabal,

536 U.S. 73, 81 (2002).

      The Magnuson-Moss Act also authorizes the Commission to promulgate rules

regarding warranties without complying with the procedures of Section 18, see

Magnuson-Moss §§ 102, 110(a), 88 Stat. at 2186, 2190 (codified at 15 U.S.C.

§§ 2302, 2310(a)), and provides that failing to comply with those rules violates

Section 5 of the FTC Act, id. § 110(b) (codified at 15 U.S.C. § 2310(b)). Again,

under the Commission’s view that Section 6(g) already generally authorized




                                        16
  Case 3:24-cv-00986-E Document 24 Filed 05/01/24                      Page 26 of 40 PageID 730



substantive rules, the power to specifically promulgate rules related to warranties is

entirely superfluous.3

            2. The Major Questions Doctrine Confirms The Commission’s Lack
               Of Authority.

        Were there any doubt remaining, it would be resolved by the major questions

doctrine. See West Virginia v. EPA, 142 S. Ct. 2587, 2605 (2022). That doctrine

embodies the “‘common sense’” principle that Congress does not delegate massive

powers in “‘vague terms.’” Id. at 2609. Agencies cannot regulate “a question of

deep economic and political significance” absent “clear” authority from Congress.

Biden v. Nebraska, 143 S. Ct. 2355, 2375 (2023) (quotation omitted).

        Contrary to the Commission’s assertion, see Rule at 37-41, the Non-Compete

Rule presents a quintessential major question. First, the Rule indisputably has

enormous economic significance. The Commission itself estimates that the Rule

will render approximately “30 million” contracts unenforceable, affect “one in five

American workers,” and have an economic impact in the hundreds of billions of

dollars. Rule at 7, 441; see Ferguson Dissent at 3 (“There is no doubt that the Final

Rule presents a major question.”).

        Second, the major questions doctrine applies when an agency “‘claim[s] to

discover in a long-extant statute an unheralded power’ representing a ‘transformative


        3
         Other later grants of rulemaking authority by Congress to the Commission would likewise be
superfluous if Section 6(g) conferred substantive rulemaking authority. See, e.g., 15 U.S.C. §§ 45a, 1194(c).


                                                    17
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 27 of 40 PageID 731



expansion in [its] regulatory authority.’” West Virginia, 142 S. Ct. at 2610 (quoting

UARG v. EPA, 573 U.S. 302, 324 (2014)). As explained above, other than a brief

fifteen-year interlude ended by enactment of the Magnuson-Moss Act, the

Commission—throughout its 110-year history—has not claimed that Section 6(g)

grants it substantive rulemaking authority and instead has proceeded, as Congress

intended, on a case-by-case basis.

      Third and similarly, courts regularly invoke the major questions doctrine

when an agency seeks to effectuate “fundamental revision of [a] statute, changing it

from one sort of scheme of regulation into an entirely different kind.” West Virginia,

142 S. Ct. at 2587 (brackets and ellipsis omitted). By transforming the FTC Act

from an antitrust statute into a worker-protection statute, the Commission has

fundamentally changed the FTC Act. The Commission’s suggestion that it has a

history of regulating non-compete agreements is risible. See Rule at 39. Excepting

one failed adjudication, see Snap-On Tools, 321 F.2d at 837, the Commission had

never addressed non-competes until it “rushed out” a handful of consent agreements

in the months before the Commission proposed the Rule in a transparent attempt to

create a paper trail. See 88 Fed. Reg. 3,482, 3,542 (Jan. 19, 2023) (Proposed Non-

Compete Clause Rule) (Commissioner Wilson, dissenting).

      Finally, the Rule “intrudes into an area that is the particular domain of state

law.” Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489


                                         18
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 28 of 40 PageID 732



(2021). Non-compete agreements have been regulated by state law since the

Founding. See supra at 7-8. And the proper way to regulate them at the state level

remains a question of deep political significance that is vigorously debated today.

For example, Minnesota banned non-compete agreements last year, Minn. Stat.

§ 181.988 (2023), while New York’s governor vetoed a similar ban, see Maysoon

Khan, New York governor vetoes bill that would ban noncompete agreements,

Associated Press (Dec. 23, 2023), https://tinyurl.com/yne98v45. Other States, such

as Georgia, have made non-competes easier to enforce. See Ga. Code Ann. §§ 13-

8-50-54. If Congress had intended to permit the Commission to terminate those

“economic experiments,” it would have clearly said so. New State Ice Co. v.

Liebmann, 285 U.S. 262, 311 (1932) (Brandeis, J., dissenting); Solid Waste Agency

of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159, 172-74 (2001).

         3. The Commission’s Counterarguments Are Meritless.

      The Commission’s claim of statutory authority to promulgate rules declaring

unfair methods of competition relies primarily on National Petroleum. See Rule at

28-29. That decision was wrong when decided and has not aged well.

      The D.C. Circuit based its decision largely on its belief that rulemaking was a

superior method of regulation than adjudication, and that interpreting Section 6(g)

to grant rulemaking authority was thus necessary to “render the statutory design

effective.” 482 F.2d at 681-84, 688, 690-91. As one leading scholar put it, “the



                                        19
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 29 of 40 PageID 733



method of statutory interpretation that the D.C. Circuit used in National Petroleum

Refiners has never been embraced by the Supreme Court; it has not been used by

any court in decades; and, it is inconsistent with the principles of separation of

powers that the Supreme Court has emphasized for decades.” Richard J. Pierce Jr.,

Can the Federal Trade Commission Use Rulemaking to Change Antitrust Law?, GW

Law Faculty Publications & Other Works 1561, at 9 (2021). Instead of substituting

its preferred procedural mechanism for Congress’s, the court should have interpreted

Section 6(g) in light of its plain language and statutory context.

      The Commission nevertheless contends that the Magnuson-Moss Act

effectively codified National Petroleum by creating enhanced rulemaking

procedures for rules defining unfair or deceptive acts or practices while not

“restrict[ing] the Commission’s authority to promulgate rules regulating unfair

methods of competition under section 6(g).” Rule at 29. That argument has it

backwards: Congress did not expressly give the Commission “UDAP” rulemaking

authority—and tightly restrict it—only to confer sub silentio unlimited authority to

adopt unfair-competition rules.

      Nor is it true that the Rule “rests on firm historical footing.” Rule at 37. The

Commission cited Section 6(g) in a spate of rules it issued between 1963 and 1978.

See id. at 25-28. But only one relied on the Commission’s power to prevent unfair

methods of competition alone; the rest declared an action to be an unfair or deceptive


                                          20
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24          Page 30 of 40 PageID 734



act or practice as well as (sometimes) an unfair method of competition. Id. And

seventy percent of those rules were later repealed. Id. In any event, fifteen years of

aggressive agency activity sandwiched between decades of acknowledgment that the

Commission lacks authority to issue rules defining unfair methods of competition is

hardly compelling evidence of a consistent, unbroken practice.

          B. A Grant Of Rulemaking Authority To Define Unfair Methods Of
             Competition Would Violate The Constitution.

      If Section 6(g) did grant the Commission authority to issue substantive unfair-

competition rules, then Section 6(g) would be an unconstitutional delegation of

legislative power. This is further reason to reject the Commission’s overbroad

reading of the statute.

      The Constitution vests “[a]ll [the] legislative Powers” it grants in “Congress.”

U.S. Const. art. I, § 1. Congress “is not permitted to abdicate or to transfer to others

the essential legislative functions with which it is thus vested.” A.L.A. Schechter

Poultry Corp. v. United States, 295 U.S. 495, 529 (1935). Rather, Congress can

delegate power to an agency only if it provides an “intelligible principle” by which

the agency can exercise it. Mistretta v. United States, 488 U.S. 361, 372 (1989).

More precisely, Congress may authorize agencies only to “fill[] up details and find[]

facts.”    Gundy v. United States, 139 S. Ct. 2116, 2148 (2019) (Gorsuch, J.,

dissenting).




                                          21
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 31 of 40 PageID 735



      The FTC Act does not provide an intelligible principle to guide a rulemaking

defining unfair methods of competition.         Section 6(g) states only that the

Commission can make “rules and regulations for the purpose of carrying out the

provisions of this subchapter.” And Section 5, the subchapter’s primary substantive

provision, prohibits “unfair methods of competition”—a phrase that “does not admit

of precise definition,” Schechter, 295 U.S. at 532, and allows the Commission to

“measur[e] a practice against the elusive … standard of fairness,” FTC v. Sperry &

Hutchinson Co., 405 U.S. 233, 244 (1972). That sort of subjective, value-laden

phrase does not provide an intelligible principle to guide the Commission.

      The Supreme Court’s decision in Schechter easily demonstrates that point. In

Schechter, the Court held that the National Industrial Recovery Act

unconstitutionally authorized the President to adopt “codes of fair competition.” 295

U.S. at 521-23. The FTC Act was different, the Court explained, precisely because

the authority it gave the Commission over “unfair methods of competition” was to

be exercised through adjudications, not rulemakings. Id. at 533. The Commission

could declare something an unfair method of competition only “in particular

instances” after “formal complaint,” “notice and hearing,” “findings of fact,” and

“judicial review.” Id. The Recovery Act, on the other hand, “dispense[d] with that

administrative procedure,” authorizing the promulgation of a “legislative code.” Id.




                                         22
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 32 of 40 PageID 736



at 533, 539. That “code-making authority … [was] an unconstitutional delegation

of legislative power.” Id. at 542.

      The Commission’s claimed authority to promulgate rules defining “unfair

methods of competition” is virtually identical to the authority to issue “codes of fair

competition” held unconstitutional in Schechter.

      The Commission’s attempt to put some meat on the bones that Congress left

bare only reinforces the elusiveness of Section 5’s standards. The Commission

asserts that “indicia of unfairness include the extent to which the conduct may be

coercive, exploitative, collusive, abusive, deceptive, predatory, or involve the use of

economic power of a similar nature.” Rule at 55. But stringing together various

adjectives does not meaningfully clarify the standard being applied to establish a

rule of “general … applicability and future effect,” 5 U.S.C. § 551(4)—as

demonstrated by the fact that the non-competes the Commission condemns with

these terms have been found perfectly “reasonable” by state courts for centuries.

Regardless, the fact that the Commission feels the need to provide (illusory)

guardrails demonstrates that Congress itself provided none.

      At minimum, the Commission’s interpretation of the FTC Act urges caution.

“[A]mbiguous statutory language [must] be construed to avoid serious constitutional

doubts.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 516 (2009). The Court




                                          23
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24         Page 33 of 40 PageID 737



should construe Section 6(g) not to provide authority to promulgate rules defining

unfair methods of competition.

        C. The Commission Is Unconstitutionally Insulated From The President.

        Because Article II of the Constitution vests the entire executive power in the

President, “lesser officers” within the Executive Branch “must remain accountable

to the President.”     Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2197 (2020).

Accountability is accomplished by the President’s “unrestricted removal power.” Id.

at 2198-200. The FTC Act unconstitutionally restricts that power. See 15 U.S.C.

§ 41.

        Although the Supreme Court upheld the FTC Act in Humphrey’s Executor, it

relied on the premise that “the FTC as it existed in 1935 exercis[ed] no part of the

executive power.” Seila Law, 140 S. Ct. at 2198-200 (quotation omitted). But the

“conclusion that the FTC did not exercise executive power has not withstood the test

of time.” Id. at 2200 n.2. Subsequent amendments to the FTC Act have given the

Commission expanded enforcement powers that are plainly executive in nature. See

15 U.S.C. §§ 45(m), 53(b), 57b(a).        Commissioners’ removal protections are

consequently unconstitutional even under the reasoning of Humphrey’s Executor.




                                          24
  Case 3:24-cv-00986-E Document 24 Filed 05/01/24                    Page 34 of 40 PageID 738



The Rule must therefore be vacated so the Commission can consider anew—with

proper presidential oversight—whether to adopt the Rule. 4

II.     Ryan Will Suffer Irreparable Harm Without A Stay Or Preliminary
        Injunction.

        If the Non-Compete Rule takes effect, Ryan’s non-compete agreements with

present and former principals would be invalidated, Ryan would be barred from

entering into new non-compete agreements, and it would have to inform its workers

that their non-competes are invalid. This will meaningfully increase the risk that

departing workers may take Ryan’s intellectual property and proprietary methods to

its competitors. See Tice Decl. ¶ 21. Contrary to the Commission’s assumption, that

risk cannot be perfectly mitigated by trade secret laws and non-disclosure

agreements (“NDAs”). Rule at 312. Non-competes are prophylactic, and violations

are visible to all and easily proved. By contrast, proving violations of trade-secret

statutes and NDAs is usually post hoc, and often difficult—by the time a company

has discovered a violation of an NDA or trade-secret law, significant damage has

almost always been done. And even if Ryan could reassert the validity of its non-

competes after the Rule is vacated—which surely would engender lengthy,




        4
          The Fifth Circuit recently held that Humphrey’s continuing force “is for the Supreme Court … to
answer.” Illumina, Inc. v. FTC, 88 F.4th 1036, 1047 (5th Cir. 2023). Ryan respectfully preserves this
argument for further review. See Consumers’ Research v. CPSC, 91 F.4th 342, 346 (5th Cir. 2024) (“[t]he
logic of Humphrey’s may have been overtaken”).


                                                  25
  Case 3:24-cv-00986-E Document 24 Filed 05/01/24                    Page 35 of 40 PageID 739



expensive litigation and potentially require workers to leave newly acquired jobs—

Ryan’s confidential information would already have been exposed.

        Similarly, the Rule would announce open season for poaching of clients and

workers. See Tice Decl. ¶ 21. “The siphoning away of the business, profits,

customers, and goodwill” of a firm constitutes “continuing and irreparable damages.”

J.M. Fields of Anderson, Inc. v. Kroger Co., 310 F.2d 562, 564 (5th Cir. 1962); see

also Wavetronix LLC v. Iteris, Inc., 2015 WL 300726, at *7 (W.D. Tex. Jan. 22, 2015)

(“irreparable harm” where competitor “poached” and “threatens to poach” clients);

Providence Title Co. v. Fleming, 2023 WL 316138, at *5 (5th Cir. Jan. 19, 2023)

(similar).

        In the absence of a stay or injunction, moreover, Ryan must undertake

substantial efforts in the upcoming months to counteract the Rule’s pernicious

consequences. Ryan would need to evaluate existing and alternative measures to

shield sensitive competitive information and strategies within the firm. Tice Decl.

¶ 22.

        Ryan would also need to spend significant resources updating existing

agreements. Tice Decl. ¶ 18. 5 It would further need to prepare notices to all current



        5
           See, e.g., Crowell & Moring LLP, Client Alert, https://tinyurl.com/yf689cac (Apr. 24, 2024)
(urging businesses “to re-examine their existing non-compete agreements and audit their protections and
controls over confidential and trade secret information”); Goodwin Procter LLP, Alert,
https://tinyurl.com/2b7y7f57 (Apr. 25, 2024) (urging business to take steps to comply “[i]f no injunction
invalidating or delaying the Final Rule is issued in the near term”).


                                                  26
  Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 36 of 40 PageID 740



and former workers subject to existing non-competes. Id. ¶ 16. Such “purely

economic costs” are irreparable, Rest. Law Ctr. v. DOL, 66 F.4th 593, 597, 600 (5th

Cir. 2023), because sovereign immunity bars monetary damages in APA actions,

Armendariz-Mata v. DEA, 82 F.3d 679, 682 (5th Cir. 1996). Indeed, “complying

with a regulation later held invalid almost always produces the irreparable harm of

nonrecoverable compliance costs.” Texas v. EPA, 829 F.3d 405, 433 (5th Cir. 2016).

III.   The Balance Of Equities And Public Interest Favor Preliminary Relief.

       The balance of equities and public interest—which “merge when the

Government is the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009)—

support a stay and preliminary injunction. To begin, there is “no public interest in

the perpetuation of unlawful agency action.” Texas v. Biden, 10 F.4th 538, 560 (5th

Cir. 2021).

       Moreover, a nationwide preliminary injunction would “maintain[] … the

status quo.” Dayton Bd. of Educ. v. Brinkman, 439 U.S. 1358, 1359 (1978).

Countless businesses, including Ryan, “have serious reliance interests on preserving

the status quo,” which allows them to use non-compete agreements to prevent their

workers from taking confidential information and customers to competitors. Texas

v. Becerra, 577 F. Supp. 3d 527, 561 (N.D. Tex. 2021).

       By contrast, a preliminary injunction “will do [the Commission] no harm

whatsoever.” BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021).



                                        27
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24           Page 37 of 40 PageID 741



Having waited more than one hundred years to regulate non-competes, it cannot

credibly claim harm from waiting a few more months.

      In short, the risk of error is greater if a preliminary injunction is denied than

if it is granted. The question in the case is whether the Court, at the behest of three

unelected, unaccountable bureaucrats, should uphold the retroactive eradication of

30 million contracts and the laws of 46 States, or should vacate one unprecedented

and illegal Rule. Until this matter is fully litigated, the appropriate course is plain.

                                   CONCLUSION

      The Court should stay the Non-Compete Rule’s effective date and

preliminarily enjoin its enforcement pending a ruling on the merits.




                                           28
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24    Page 38 of 40 PageID 742



                                  Respectfully submitted,

Dated: May 1, 2024                       /s/ Allyson N. Ho

Allyson N. Ho                            Eugene Scalia (pro hac vice)
Texas Bar No. 24033667                   Amir C. Tayrani (pro hac vice)
Elizabeth A. Kiernan                     Andrew G. I. Kilberg (pro hac vice)
Texas Bar No. 24105666                   Aaron Hauptman (pro hac vice)
GIBSON, DUNN & CRUTCHER LLP              Joshua R. Zuckerman (pro hac vice)
2001 Ross Avenue, Suite 2100             GIBSON, DUNN & CRUTCHER LLP
Dallas, TX 75201                         1050 Connecticut Avenue, N.W.
Telephone: 214.698.3100                  Washington, DC 20036
Facsimile: 214.571.2900                  Telephone: 202.955.8500
aho@gibsondunn.com                       Facsimile: 202.467.0539
ekiernan@gibsondunn.com                  escalia@gibsondunn.com
                                         atayrani@gibsondunn.com
Charles W. Fillmore                      akilberg@gibsondunn.com
Texas Bar No. 00785861                   ahauptman@gibsondunn.com
H. Dustin Fillmore III                   jzuckerman@gibsondunn.com
Texas Bar No. 06996010
THE FILLMORE LAW FIRM LLP
201 Main Street, Suite 700
Fort Worth, TX 76102
Telephone: 817.332.2351
chad@fillmorefirm.com
dusty@fillmorefirm.com


                          Attorneys for Ryan, LLC




                                    29
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24     Page 39 of 40 PageID 743



                      CERTIFICATE OF COMPLIANCE

      1.      This document complies with the type-volume requirements of Judge

Brown’s Case Management Procedure II.A because it contains 6,225 words; and

      2.      This document complies with the typeface requirements of Judge

Brown’s Case Management Procedure II.A because it has been prepared in a

proportionally spaced typeface using Microsoft Office Word in 14-point Times New

Roman font.

Dated: May 1, 2024                       Respectfully submitted,

                                         /s/ Allyson N. Ho
                                         Allyson N. Ho
                                         GIBSON, DUNN & CRUTCHER LLP
                                         2001 Ross Avenue, Suite 2100
                                         Dallas, TX 75201
                                         214.698.3100
                                         aho@gibsondunn.com
 Case 3:24-cv-00986-E Document 24 Filed 05/01/24        Page 40 of 40 PageID 744



                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 1, 2024, I caused the foregoing motion to be filed

with the Clerk for the U.S. District Court for the Northern District of Texas through

the ECF system. Participants in the case who are registered ECF users will be served

through the ECF system, as identified by the Notice of Electronic Filing.



Dated: May 1, 2024                         Respectfully submitted,

                                           /s/ Allyson N. Ho
                                           Allyson N. Ho
                                           GIBSON, DUNN & CRUTCHER LLP
                                           2001 Ross Avenue, Suite 2100
                                           Dallas, TX 75201
                                           214.698.3100
                                           aho@gibsondunn.com
